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                                   8                                  UNITED STATES DISTRICT COURT

                                   9                                 NORTHERN DISTRICT OF CALIFORNIA

                                  10                                        San Francisco Division

                                  11     DANE ZEEN,                                       Case No. 17-cv-02056-LB
                                  12                    Plaintiff,
Northern District of California
 United States District Court




                                                                                          PROPOSED FINAL JURY
                                  13             v.                                       INSTRUCTIONS
                                  14     COUNTY OF SONOMA, et al.,
                                  15                    Defendants.

                                  16

                                  17      The court proposes the attached final jury instructions. The court notes any issues in comments

                                  18   that accompany particular instructions.

                                  19      IT IS SO ORDERED.

                                  20      Dated: August 14, 2018

                                  21                                                  ______________________________________
                                                                                      LAUREL BEELER
                                  22                                                  United States Magistrate Judge
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                                       PROPOSED FINAL JURY INSTRUCTIONS – No. 17-cv-02056-LB
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                                   1                                         1.4: DUTY OF JURY
                                   2       Members of the Jury: Now that you have heard all of the evidence and the arguments of the
                                       attorneys, it is my duty to instruct you on the law that applies to this case.
                                   3

                                   4      Each of you has received a copy of these instructions that you may take with you to the jury
                                       room to consult during your deliberations.
                                   5
                                           It is your duty to find the facts from all the evidence in the case. To those facts you will apply
                                   6   the law as I give it to you. You must follow the law as I give it to you whether you agree with it or
                                       not. And you must not be influenced by any personal likes or dislikes, opinions, prejudices, or
                                   7   sympathy. That means that you must decide the case solely on the evidence before you. You will
                                       recall that you took an oath to do so.
                                   8

                                   9       Please do not read into these instructions or anything that I may say or do or have said or done
                                       that I have an opinion regarding the evidence or what your verdict should be.
                                  10

                                  11

                                  12            1.6: BURDEN OF PROOF — PREPONDERANCE OF THE EVIDENCE
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 United States District Court




                                  13       When a party has the burden of proving any claim or affirmative defense by a preponderance
                                       of the evidence, it means you must be persuaded by the evidence that the claim or affirmative
                                  14   defense is more probably true than not true.
                                  15
                                          You should base your decision on all of the evidence, regardless of which party presented it.
                                  16

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                                       PROPOSED FINAL JURY INSTRUCTIONS – No. 17-cv-02056-LB                                                2
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                                   1                                    1.9: WHAT IS EVIDENCE
                                   2      The evidence you are to consider in deciding what the facts are consists of:
                                   3      1. the sworn testimony of any witness;
                                   4
                                          2. the exhibits that are admitted into evidence;
                                   5
                                          3. any facts to which the lawyers have agreed; and
                                   6
                                          4. any facts that I have instructed you to accept as proved.
                                   7

                                   8                                1.10: WHAT IS NOT EVIDENCE
                                   9       In reaching your verdict, you may consider only the testimony and exhibits received into
                                       evidence. Certain things are not evidence, and you may not consider them in deciding what the
                                  10
                                       facts are. I will list them for you:
                                  11
                                          1. Arguments and statements by lawyers are not evidence. The lawyers are not witnesses.
                                  12         What they have said in their opening statements, closing arguments and at other times is
Northern District of California




                                             intended to help you interpret the evidence, but it is not evidence. If the facts as you
 United States District Court




                                  13         remember them differ from the way the lawyers have stated them, your memory of them
                                             controls.
                                  14
                                          2. Questions and objections by lawyers are not evidence. Attorneys have a duty to their
                                  15
                                             clients to object when they believe a question is improper under the rules of evidence. You
                                  16         should not be influenced by the objection or by the court’s ruling on it.

                                  17      3. Testimony that is excluded or stricken, or that you have been instructed to disregard, is not
                                             evidence and must not be considered. In addition some evidence was received only for a
                                  18         limited purpose; when I have instructed you to consider certain evidence only for a limited
                                             purpose, you must do so and you may not consider that evidence for any other purpose.
                                  19
                                          4. Anything you have seen or heard when the court was not in session is not evidence. You
                                  20
                                             are to decide the case solely on the evidence received at the trial.
                                  21

                                  22
                                                              1.11: EVIDENCE FOR LIMITED PURPOSE
                                  23
                                          Some evidence may be admitted only for a limited purpose.
                                  24
                                          When I instruct you that an item of evidence has been admitted only for a limited purpose, you
                                  25   must consider it only for that limited purpose and not for any other purpose.
                                  26

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                                       PROPOSED FINAL JURY INSTRUCTIONS – No. 17-cv-02056-LB                                             3
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                                   1                       1.12: DIRECT AND CIRCUMSTANTIAL EVIDENCE
                                   2       Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact, such as
                                   3   testimony by a witness about what that witness personally saw or heard or did. Circumstantial
                                       evidence is proof of one or more facts from which you could find another fact. You should
                                   4   consider both kinds of evidence. The law makes no distinction between the weight to be given to
                                       either direct or circumstantial evidence. It is for you to decide how much weight to give to any
                                   5   evidence.
                                   6
                                                                      1.13: RULING ON OBJECTIONS
                                   7

                                   8      There are rules of evidence that control what can be received into evidence. When a lawyer
                                       asks a question or offers an exhibit into evidence and a lawyer on the other side thinks that it is not
                                   9   permitted by the rules of evidence, that lawyer may object. If I overrule the objection, the question
                                       may be answered or the exhibit received. If I sustain the objection, the question cannot be
                                  10   answered, and the exhibit cannot be received. Whenever I sustained an objection to a question,
                                       you must ignore the question and must not guess what the answer might have been.
                                  11
                                           Sometimes I ordered that evidence be stricken from the record and that you disregard or ignore
                                  12
                                       that evidence. That means when you are deciding the case, you must not consider the stricken
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                                  13   evidence for any purpose.

                                  14

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                                       PROPOSED FINAL JURY INSTRUCTIONS – No. 17-cv-02056-LB                                                 4
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                                   1                               1.14: CREDIBILITY OF WITNESSES
                                   2       In deciding the facts in this case, you may have to decide which testimony to believe and
                                       which testimony not to believe. You may believe everything a witness says, or part of it, or none
                                   3
                                       of it.
                                   4
                                          In considering the testimony of any witness, you may take into account:
                                   5
                                          1. the opportunity and ability of the witness to see or hear or know the things testified to;
                                   6
                                          2. the witness’s memory;
                                   7
                                          3. the witness’s manner while testifying;
                                   8
                                          4. the witness’s interest in the outcome of the case, if any;
                                   9

                                  10      5. the witness’s bias or prejudice, if any;

                                  11      6. whether other evidence contradicted the witness’s testimony;

                                  12      7. the reasonableness of the witness’s testimony in light of all the evidence; and
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                                  13      8. any other factors that bear on believability.

                                  14       Sometimes a witness may say something that is not consistent with something else he or she
                                       said. Sometimes different witnesses will give different versions of what happened. People often
                                  15   forget things or make mistakes in what they remember. Also, two people may see the same event
                                  16   but remember it differently. You may consider these differences, but do not decide that testimony
                                       is untrue just because it differs from other testimony.
                                  17
                                           However, if you decide that a witness has deliberately testified untruthfully about something
                                  18   important, you may choose not to believe anything that witness said. On the other hand, if you
                                       think the witness testified untruthfully about some things but told the truth about others, you may
                                  19   accept the part you think is true and ignore the rest.
                                  20       The weight of the evidence as to a fact does not necessarily depend on the number of witnesses
                                  21   who testify. What is important is how believable the witnesses were, and how much weight you
                                       think their testimony deserves.
                                  22

                                  23                         1.17: NO TRANSCRIPT AVAILABLE TO JURY

                                  24      During deliberations you will not have a transcript of the trial testimony.
                                  25
                                                                           1.18: TAKING NOTES
                                  26
                                           Whether or not you took notes, you should rely on your own memory of the evidence. Notes
                                  27   are only to assist your memory. You should not be overly influenced by your notes or those of
                                  28   your fellow jurors.

                                       PROPOSED FINAL JURY INSTRUCTIONS – No. 17-cv-02056-LB                                                 5
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                                   1                         1.20: BENCH CONFERENCES AND RECESSES
                                   2       From time to time during the trial, it became necessary for me to talk with the attorneys out of
                                       the hearing of the jury, either by having a conference at the bench when the jury was present in the
                                   3
                                       courtroom, or by calling a recess. Please understand that while you were waiting, we were
                                   4   working. The purpose of these conferences is not to keep relevant information from you, but to
                                       decide how certain evidence is to be treated under the rules of evidence and to avoid confusion
                                   5   and error.
                                   6      Of course, we have done what we could to keep the number and length of these conferences to
                                       a minimum. I did not always grant an attorney’s request for a conference. Do not consider my
                                   7
                                       granting or denying a request for a conference as any indication of my opinion of the case or of
                                   8   what your verdict should be.

                                   9

                                  10                                   2.2: STIPULATIONS OF FACT

                                  11      The parties have agreed to certain facts that were placed in evidence and were read to you.
                                       You must therefore treat these facts as having been proved.
                                  12
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                                  13
                                                                           2.3: JUDICIAL NOTICE
                                  14
                                           The court has decided to accept as proved the fact that [state fact]. You must accept this fact
                                  15   as true.
                                  16
                                          [NB: The parties ask for this instruction but do not propose any judicial notice of facts.]
                                  17

                                  18                        2.5: TRANSCRIPT OF RECORDING IN ENGLISH
                                  19       You have heard a recording that has been received in evidence. Each of you was given a
                                       transcript of the recording to help you identify speakers and as a guide to help you listen to the
                                  20   recording. However, bear in mind that the recording is the evidence, not the transcript. If you
                                  21   heard something different from what appeared in the transcript, what you heard is controlling.

                                  22

                                  23                            2.8: FOREIGN LANGUAGE TESTIMONY

                                  24       You [are about to hear] [have heard] testimony of a witness who [will be testifying] [testified]
                                       in the [specify foreign language] language. Witnesses who do not speak English or are more
                                  25   proficient in another language testify through an official court interpreter. Although some of you
                                       may know the [specify foreign language] language, it is important that all jurors consider the same
                                  26   evidence. Therefore, you must accept the interpreter’s translation of the witness’s testimony. You
                                  27   must disregard any different meaning.

                                  28

                                       PROPOSED FINAL JURY INSTRUCTIONS – No. 17-cv-02056-LB                                                 6
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                                           You must not make any assumptions about a witness or a party based solely on the use of an
                                   1   interpreter to assist that witness or party.
                                   2
                                           [NB: The parties requested this instruction, but are there witnesses who will be testifying in a
                                   3   foreign language?.]

                                   4

                                   5                         2.9: IMPEACHMENT EVIDENCE — WITNESS

                                   6       The evidence that a witness gave an inconsistent statement under oath on a prior occasion may
                                       be considered, along with all other evidence, in deciding whether or not to believe the witness and
                                   7   how much weight to give to the testimony of the witness and for no other purpose.
                                   8

                                   9                                2.10: TESTS AND EXPERIMENTS
                                  10
                                          A test or experiment was conducted.
                                  11
                                           You observed the conditions under which that test or experiment was made. These conditions
                                  12   may or may not duplicate the conditions and other circumstances that existed at the time and place
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                                       of the incident involved in this case.
 United States District Court




                                  13
                                          It is for you to decide what weight, if any, you give to the test or experiment.
                                  14

                                  15
                                                                    2.11: USE OF INTERROGATORIES
                                  16
                                           Evidence was presented to you in the form of answers of one of the parties to written
                                  17   interrogatories submitted by the other side. These answers were given in writing and under oath
                                  18   before the trial in response to questions that were submitted under established court procedures.
                                       You should consider the answers, insofar as possible, in the same way as if they were made from
                                  19   the witness stand.

                                  20

                                  21                           2.12: USE OF REQUESTS FOR ADMISSION
                                  22      Evidence was presented to you in the form of admissions to the truth of certain facts. These
                                       admissions were given in writing before the trial, in response to requests that were submitted
                                  23   under established court procedures. You must treat these facts as having been proved.
                                  24
                                          [N.B.: for prior four instructions, depends if used.]
                                  25

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                                       PROPOSED FINAL JURY INSTRUCTIONS – No. 17-cv-02056-LB                                                  7
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                                                                          2.13: EXPERT OPINION
                                   1
                                          You have heard testimony from experts who testified to opinions and the reasons for their
                                   2   opinions. This opinion testimony is allowed because of the education or experiences of these
                                   3   witnesses.

                                   4        Such opinion testimony should be judged like any other testimony. You may accept it or reject
                                       it, and give it as much weight as you think it deserves, considering the witness’s education and
                                   5   experience, the reasons given for the opinion, and all the other evidence in the case.
                                   6

                                   7                          2.16: EVIDENCE IN ELECTRONIC FORMAT
                                   8       Those exhibits received in evidence that are capable of being displayed electronically will be
                                   9   provided to you in that form, and you will be able to view them in the jury room. A computer,
                                       projector, printer and accessory equipment will be available to you in the jury room.
                                  10
                                           A court technician will show you how to operate the computer and other equipment; how to
                                  11   locate and view the exhibits on the computer; and how to print the exhibits. You will also be
                                       provided with a paper list of all exhibits received in evidence. You may request a paper copy of
                                  12   any exhibit received in evidence by sending a note through the clerk.) If you need additional
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                                       equipment or supplies or if you have questions about how to operate the computer or other
                                  13
                                       equipment, you may send a note to the clerk, signed by your foreperson or by one or more
                                  14   members of the jury. Do not refer to or discuss any exhibit you were attempting to view.

                                  15       If a technical problem or question requires hands-on maintenance or instruction, a court
                                       technician may enter the jury room with the clerk present for the sole purpose of assuring that the
                                  16   only matter that is discussed is the technical problem. When the court technician or any nonjuror is
                                       in the jury room, the jury shall not deliberate. No juror may say anything to the court technician or
                                  17   any nonjuror other than to describe the technical problem or to seek information about operation
                                  18   of the equipment. Do not discuss any exhibit or any aspect of the case.

                                  19       The sole purpose of providing the computer in the jury room is to enable jurors to view the
                                       exhibits received in evidence in this case. You may not use the computer for any other purpose. At
                                  20   my direction, technicians have taken steps to ensure that the computer does not permit access to
                                       the Internet or to any “outside” website, database, directory, game, or other material. Do not
                                  21   attempt to alter the computer to obtain access to such materials. If you discover that the computer
                                       provides or allows access to such materials, you must inform the court immediately and refrain
                                  22
                                       from viewing such materials. Do not remove the computer or any electronic data from the jury
                                  23   room, and do not copy any such data.

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                                                   9.1: SECTION 1983 CLAIM — INTRODUCTORY INSTRUCTION
                                   1
                                           The plaintiff brings his claim under the federal statute, 42 U.S.C. § 1983, which provides that
                                   2   any person or persons who, under color of state law, deprives another of any rights, privileges, or
                                   3   immunities secured by the Constitution or laws of the United States shall be liable to the injured
                                       party.
                                   4
                                                                               9.2: CAUSATION
                                   5
                                           In order to establish that the acts or failure to act of the defendant deprived the plaintiff of his
                                   6   particular rights under the United States Constitution as explained in later instructions, the plaintiff
                                       must prove by a preponderance of the evidence that the acts or failure to act were so closely
                                   7   related to the deprivation of the plaintiff’s rights as to be the moving force that caused the ultimate
                                   8   injury.

                                   9

                                  10                  9.3: SECTION 1983 CLAIM AGAINST DEFENDANT IN
                                                 INDIVIDUAL CAPACITY — ELEMENTS AND BURDEN OF PROOF
                                  11
                                           In order to prevail on his § 1983 claims against the defendant, the plaintiff must prove each of
                                  12   the following elements by a preponderance of the evidence:
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                                  13      1. the defendant acted under color of state law; and
                                  14      2. the acts of the defendant deprived the plaintiff of his particular rights under the United
                                             States Constitution as explained in later instructions.
                                  15

                                  16       A person acts “under color of law” when the person acts or purports to act in the performance
                                       of official duties under any state, county, or municipal law, ordinance, or regulation. The parties
                                  17   have stipulated that the defendant acted under color of state law.

                                  18       If you find the plaintiff has proved each of these elements, and if you find that the plaintiff has
                                       proved all the elements he is required to prove under the two substantive instructions that deal
                                  19   with the particular rights (which are the next two instructions called (1) Particular Rights —
                                       Fourth Amendment — Unreasonable Seizure of Person — Generally, and (2) Particular Rights —
                                  20
                                       Fourth Amendment — Unreasonable Seizure of Person — Excessive Force), your verdict should
                                  21   be for the plaintiff. If, on the other hand, you find that the plaintiff has failed to prove any one or
                                       more of these elements, your verdict should be for the defendant.
                                  22

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                                       PROPOSED FINAL JURY INSTRUCTIONS – No. 17-cv-02056-LB                                                  9
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                                   1       9.20: PARTICULAR RIGHTS — FOURTH AMENDMENT — UNREASONABLE
                                                           SEIZURE OF PERSON — GENERALLY
                                   2
                                           As previously explained, the plaintiff has the burden of proving that the acts of the defendant
                                   3   deprived the plaintiff of particular rights under the United States Constitution. In this case, the
                                       plaintiff alleges the defendant deprived him of his rights under the Fourth Amendment to the
                                   4   Constitution when the defendant used force against him.
                                   5       Under the Fourth Amendment, a person has the right to be free from an unreasonable seizure
                                       of his person. In order to prove the defendant deprived the plaintiff of this Fourth Amendment
                                   6   right, the plaintiff must prove the following additional elements by a preponderance of the
                                       evidence:
                                   7
                                          1. the defendant seized the plaintiff’s person;
                                   8
                                          2. in seizing the plaintiff’s person, the defendant acted intentionally; and
                                   9
                                          3. the seizure was unreasonable.
                                  10
                                          I instruct you that the plaintiff was seized as soon as the defendant handcuffed him, so it is
                                  11   your job to determine whether the seizure was unreasonable.
                                  12
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                                           9.25: PARTICULAR RIGHTS — FOURTH AMENDMENT — UNREASONABLE
                                  13                    SEIZURE OF PERSON — EXCESSIVE FORCE
                                  14
                                           In general, a seizure of a person is unreasonable under the Fourth Amendment if a police
                                  15   officer uses excessive force in making a lawful detention and/or in defending himself or others.
                                       Therefore, in order to prove an unreasonable seizure in this case, the plaintiff must prove by a
                                  16   preponderance of the evidence that the defendant used excessive force when the defendant
                                       handcuffed the defendant and took him into custody for psychiatric evaluation.
                                  17
                                           Under the Fourth Amendment, a police officer may use only such force as is “objectively
                                  18
                                       reasonable” under all of the circumstances. You must judge the reasonableness of a particular use
                                  19   of force from the perspective of a reasonable officer on the scene and not with the 20/20 vision of
                                       hindsight. Although the facts known to the officer are relevant to your inquiry, an officer’s
                                  20   subjective intent or motive is not relevant to your inquiry.

                                  21       In determining whether the officer used excessive force in this case, consider all of the
                                       circumstances known to the officer on the scene, including:
                                  22
                                          1. the nature of the circumstances known to the officer at the time force was applied;
                                  23

                                  24      2. whether the plaintiff posed an immediate threat to the safety of the officer or to others;

                                  25      3. whether the plaintiff was actively resisting arrest or attempting to evade arrest by flight;

                                  26       4. the amount of time the officer had to determine the type and amount of force that
                                       reasonably appeared necessary, and any changing circumstances during that period;
                                  27
                                          5. the type and amount of force used;
                                  28

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                                          6. the availability of alternative methods to take the plaintiff into custody;
                                   1
                                           7. the number of lives at risk (motorists, pedestrians, police officers) and the parties’ relative
                                   2
                                       culpability; i.e., which party created the dangerous situation, and which party is more innocent;
                                   3
                                          8. whether it was practical for the officer to give warning of the imminent use of force, and
                                   4   whether such warning was given; and

                                   5      9. whether it should have been apparent to the officer that the person he used force against
                                       was emotionally disturbed.
                                   6

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Northern District of California
 United States District Court




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                                       PROPOSED FINAL JURY INSTRUCTIONS – No. 17-cv-02056-LB                                                11
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                                   1          5.1: DAMAGES — PROOF; 5.2: MEASURES OF TYPES OF DAMAGES

                                   2      It is the duty of the Court to instruct you about the measure of damages. By instructing you on
                                       damages, the Court does not mean to suggest for which party your verdict should be rendered.
                                   3

                                   4       If you find for the plaintiff, you must determine the plaintiff’s damages. The plaintiff has the
                                       burden of proving damages by a preponderance of the evidence. Damages means the amount of
                                   5   money that will reasonably and fairly compensate the plaintiff for any injury you find was caused
                                       by the defendant. You should consider the following:
                                   6
                                          1. The nature and extent of the injuries;
                                   7
                                          2. The disability, disfigurement, and loss of enjoyment of life experienced and that with
                                   8
                                             reasonable probability will be experienced in the future;
                                   9
                                          3. The mental, physical, and emotional pain and suffering experienced and that with
                                  10         reasonable probability will be experienced in the future;

                                  11      4. The reasonable value of necessary medical care, treatment, and services received to the
                                             present time; [omit based on MIL #1, 3]
                                  12
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 United States District Court




                                          5. The reasonable value of necessary medical care, treatment, and services that with
                                  13         reasonable probability will be required in the future. [what is the status of this based on
                                  14         MIL #1, 3]

                                  15      It is for you to determine what damages, if any, have been proved.

                                  16      Your award must be based upon evidence and not upon speculation, guesswork, or conjecture.

                                  17

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                                       PROPOSED FINAL JURY INSTRUCTIONS – No. 17-cv-02056-LB                                               12
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                                   1                                   5.3: DAMAGES — MITIGATION

                                   2      The plaintiff has a duty to use reasonable efforts to mitigate damages. To mitigate means to
                                       avoid or reduce damages.
                                   3

                                   4       The defendant has the burden of proving by a preponderance of the evidence:

                                   5       1. that the plaintiff failed to use reasonable efforts to mitigate damages; and

                                   6       2. the amount by which damages would have been mitigated.

                                   7      [NB: Plaintiff objects to the inclusion of this instruction unless evidence is admitted at trial to
                                       support this instruction. To be addressed at jury conference.]
                                   8

                                   9
                                                                            5.5: PUNITIVE DAMAGES
                                  10
                                          If you find for the plaintiff, you may, but are not required to, award punitive damages. The
                                  11   purposes of punitive damages are to punish a defendant and to deter similar acts in the future.
                                       Punitive damages may not be awarded to compensate a plaintiff.
                                  12
Northern District of California




                                          The plaintiff has the burden of proving by a preponderance of the evidence that punitive
 United States District Court




                                  13   damages should be awarded and, if so, the amount of any such damages.
                                  14       You may award punitive damages only if you find that the defendant’s conduct that harmed
                                  15   the plaintiff was malicious, oppressive or in reckless disregard of the plaintiff’s rights. Conduct is
                                       malicious if it is accompanied by ill will, or spite, or if it is for the purpose of injuring the plaintiff.
                                  16   Conduct is in reckless disregard of the plaintiff’s rights if, under the circumstances, it reflects
                                       complete indifference to the plaintiff’s safety or rights, or if the defendant acts in the face of a
                                  17   perceived risk that its actions will violate the plaintiff’s rights under federal law. An act or
                                       omission is oppressive if the defendant injures or damages or otherwise violates the rights of the
                                  18   plaintiff with unnecessary harshness or severity, such as by misusing or abusing authority or
                                  19   power or by taking advantage of some weakness or disability or misfortune of the plaintiff.

                                  20       If you find that punitive damages are appropriate, you must use reason in setting the amount.
                                       Punitive damages, if any, should be in an amount sufficient to fulfill their purposes but should not
                                  21   reflect bias, prejudice or sympathy toward any party. In considering the amount of any punitive
                                       damages, consider the degree of reprehensibility of the defendant’s conduct.
                                  22
                                          In addition, you may consider the relationship of any award of punitive damages to any actual
                                  23   harm inflicted on the plaintiff.
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                                   1                                    3.1: DUTY TO DELIBERATE

                                   2       Before you begin your deliberations, elect one member of the jury as your presiding juror. The
                                       presiding juror will preside over the deliberations and serve as the spokesperson for the jury in
                                   3
                                       court.
                                   4
                                          You shall diligently strive to reach agreement with all of the other jurors if you can do so.
                                   5   Your verdict must be unanimous.

                                   6      Each of you must decide the case for yourself, but you should do so only after you have
                                       considered all of the evidence, discussed it fully with the other jurors, and listened to their views.
                                   7
                                           It is important that you attempt to reach a unanimous verdict but, of course, only if each of you
                                   8
                                       can do so after having made your own conscientious decision. Do not be unwilling to change your
                                   9   opinion if the discussion persuades you that you should. But do not come to a decision simply
                                       because other jurors think it is right, or change an honest belief about the weight and effect of the
                                  10   evidence simply to reach a verdict.

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                                   1             3.2: CONSIDERATION OF EVIDENCE — CONDUCT OF THE JURY

                                   2       Because you must base your verdict only on the evidence received in the case and on these
                                       instructions, I remind you that you must not be exposed to any other information about the case or
                                   3
                                       to the issues it involves. Except for discussing the case with your fellow jurors during your
                                   4   deliberations:

                                   5               Do not communicate with anyone in any way and do not let anyone else
                                               communicate with you in any way about the merits of the case or anything to do
                                   6           with it. This includes discussing the case in person, in writing, by phone or
                                               electronic means, via email, via text messaging, or any internet chat room, blog,
                                   7           website or application, including but not limited to Facebook, YouTube, Twitter,
                                               Instagram, LinkedIn, Snapchat, or any other forms of social media. This applies to
                                   8           communicating with your family members, your employer, the media or press, and
                                               the people involved in the trial. If you are asked or approached in any way about
                                   9           your jury service or anything about this case, you must respond that you have been
                                               ordered not to discuss the matter and to report the contact to the court.
                                  10
                                                   Do not read, watch, or listen to any news or media accounts or commentary
                                  11           about the case or anything to do with it, although I have no information that there
                                               will be news reports about this case; do not do any research, such as consulting
                                  12           dictionaries, searching the Internet, or using other reference materials; and do not
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                                               make any investigation or in any other way try to learn about the case on your own.
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                                  13           Do not visit or view any place discussed in this case, and do not use Internet
                                               programs or other devices to search for or view any place discussed during the trial.
                                  14           Also, do not do any research about this case, the law, or the people involved —
                                               including the parties, the witnesses or the lawyers — until you have been excused
                                  15           as jurors. If you happen to read or hear anything touching on this case in the media,
                                               turn away and report it to me as soon as possible.
                                  16
                                            These rules protect each party’s right to have this case decided only on evidence that has been
                                  17   presented here in court. Witnesses here in court take an oath to tell the truth, and the accuracy of
                                       their testimony is tested through the trial process. If you do any research or investigation outside
                                  18   the courtroom, or gain any information through improper communications, then your verdict may
                                  19   be influenced by inaccurate, incomplete or misleading information that has not been tested by the
                                       trial process. Each of the parties is entitled to a fair trial by an impartial jury, and if you decide the
                                  20   case based on information not presented in court, you will have denied the parties a fair trial.
                                       Remember, you have taken an oath to follow the rules, and it is very important that you follow
                                  21   these rules.
                                  22       A juror who violates these restrictions jeopardizes the fairness of these proceedings, and a
                                       mistrial could result that would require the entire trial process to start over. If any juror is exposed
                                  23
                                       to any outside information, please notify the court immediately.
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                                                                3.3: COMMUNICATION WITH COURT
                                   1
                                           If it becomes necessary during your deliberations to communicate with me, you may send a
                                   2   note through the clerk, signed by any one or more of you. No member of the jury should ever
                                   3   attempt to communicate with me except by a signed writing. I will not communicate with any
                                       member of the jury on anything concerning the case except in writing or here in open court. If you
                                   4   send out a question, I will consult with the lawyers before answering it, which may take some
                                       time. You may continue your deliberations while waiting for the answer to any question.
                                   5   Remember that you are not to tell anyone — including the court — how the jury stands, whether
                                       in terms of vote count or otherwise, until after you have reached a unanimous verdict or have been
                                   6
                                       discharged.
                                   7

                                   8
                                                                       3.5: RETURN OF VERDICT
                                   9
                                          A verdict form has been prepared for you. After you have reached unanimous agreement on a
                                  10   verdict, your foreperson should complete the verdict form according to your deliberations, sign
                                       and date it, and advise the clerk that you are ready to return to the courtroom.
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